                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF MICHIGAN

              In re: BENTIVOLIO, KERRY L                                                        § Case No. 15-42543-TJT
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on February 23, 2015. The undersigned trustee was appointed on February 23, 2015.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                33,500.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                           10,000.00
                                    Administrative expenses                                          12,756.22
                                    Bank service fees                                                   328.62
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                         0.00
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $                10,415.16
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)


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               6. The deadline for filing non-governmental claims in this case was 06/08/2015
       and the deadline for filing governmental claims was 06/08/2015. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $4,100.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $4,100.00, for a total compensation of $4,100.00. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $50.00, for total expenses of
              2
       $50.00.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 07/13/2017                    By: /s/STUART A. GOLD
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)


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                                                                                                                                                            Exhibit A


                                                                          Form 1                                                                            Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 15-42543-TJT                                                         Trustee:       (420360)      STUART A. GOLD
Case Name:        BENTIVOLIO, KERRY L                                             Filed (f) or Converted (c): 02/23/15 (f)
                                                                                  §341(a) Meeting Date:        03/19/15
Period Ending: 07/13/17                                                           Claims Bar Date:             06/08/15

                               1                                  2                          3                      4               5                   6

                    Asset Description                          Petition/            Estimated Net Value         Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)            Unscheduled       (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                Values            Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                and Other Costs)                                          Remaining Assets

 1       260 WHITE PINE TR, MILFORD, MI. 4838                   299,000.00                         0.00                                  0.00                   FA
         SURVIVORSHI
          Scheduled value changed per 04/11/15 amendment;
         Original value was 175,000.00

 2       PACKET CASH                                                  200.00                       0.00                                  0.00                   FA
          See asset #32 - Global settlement with debtor

 3       CONGRESSIONAL FEDERAL CREDIT UNION                           100.00                       0.00                                  0.00                   FA
         ACCOUNT 01772
          See asset #32 - Global settlement with debtor

 4       100 CAPITAL YARDS THESE MAY HAVE BEEB                    1,500.00                         0.00                                  0.00                   FA
         TAKEN 100
          See asset #32 - Global settlement with debtor

 5       NORMAL HOUSHOLD GOODS FOR 4 BEDROOM                      2,975.00                         0.00                                  0.00                   FA
         RESIDENCE WI
          * Scheduled value changed per 03/19/15
         amendment; Original value was $9,750.00
         * Scheduled value changed per 04/11/15 amendment;
         value was $8,250.00

 6       OFFICE EQUIPMENT: PRINTER 200 LAPTOP 300                     650.00                       0.00                                  0.00                   FA
         DESKTOP

 7       VARIOUS SCHOOL BOOKS FOR WHEN I WAS                      Unknown                          0.00                                  0.00                   FA
         TEACHING SCH
          Scheduled value changed per 04/11/15 amendment;
         Original value was $450.00

 8       VARIOS SUITS AND WEARING APPARAL                             750.00                       0.00                                  0.00                   FA

 9       WEDDING RING                                                 800.00                       0.00                                  0.00                   FA

10       PERSONAL CAMERA                                              350.00                       0.00                                  0.00                   FA
          See asset #32 - Global settlement with debtor

11       RIFLE MARLIN BOLG ACTION .22 CALIBER                     1,980.00                         0.00                                  0.00                   FA
         8617544; RI
          * Scheduled value changed per 4/11/15 amendment;
         Original value was $5,100.00
         ** See asset #32 - Global settlement with debtor

12       TERM LIFE POLICY LISTED IN ERROR. THE                          0.00                       0.00                                  0.00                   FA


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                                                                        Form 1                                                                            Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 15-42543-TJT                                                       Trustee:       (420360)      STUART A. GOLD
Case Name:        BENTIVOLIO, KERRY L                                           Filed (f) or Converted (c): 02/23/15 (f)
                                                                                §341(a) Meeting Date:        03/19/15
Period Ending: 07/13/17                                                         Claims Bar Date:             06/08/15

                               1                                  2                        3                      4               5                   6

                    Asset Description                          Petition/          Estimated Net Value         Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)            Unscheduled     (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                Values          Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                              and Other Costs)                                          Remaining Assets

         POLICY IS
          OWNED BY WIFE, PAID FOR BY WIFE AND THE
         BENEFICIARY IS THE DEBTOR HUSBAND
         * Asset description and scheduled valued changed
         per 3/19/15 amendment
         ** Asset removed per 04/11/15 amendment

13       VA PENSION BENIFITS                                      1,448.00                       0.00                                  0.00                   FA

14       FEDERAL EMPLOYEE RETIREMENT - AUTOMATIC                 38,585.00                       0.00                                  0.00                   FA
         FROM
          Asset description changed per 04/11/15 amendment

15       TEACHER RETIREMENT VESTED                               15,000.00                       0.00                                  0.00                   FA
          Asset description changed per 04/11/15 amendment

16       AMERICAN FUNDS ACCOUNT 83675xxx                         13,537.00                       0.00                                  0.00                   FA

17       THE OLD FASHION SANTA LLC                                5,000.00                       0.00                                  0.00                   FA
          * Scheduled value changed per 04/11/15
         amendment; Original value was 1.00
         **See asset #32 - Global settlement with debtor

18       DBA KERRY BENTIVOLIO FOR US CONGRESS                         0.00                       0.00                                  0.00                   FA
          * Scheduled value changed per 04/11/15
         amendment; Original value was "unknown"
         ** See asset #32 - Global settlement with debtor

19       EXPIRED TEACHERS CERTIFICATE                                 1.00                       0.00                                  0.00                   FA

20       CARGO TRAILER IN FIELD. PICTURES AVAILABLE               1,500.00                       0.00                                  0.00                   FA
          See asset #32 - Global settlement with debtor

21       1996 4 DOOR CHEVY LEASE VEHICLE                              0.00                       0.00                                  0.00                   FA
          Asset removed per 04/11/15 amendment

22       OFFICE EQUIPMENT - SEE PERSONAL                              0.00                       0.00                                  0.00                   FA
         PROPERTY ITEM 4
          Asset removed per 03/19/15 amendment

23       BROKEN PORTABLE GENERATOR, AIR                           1,500.00                       0.00                                  0.00                   FA
         COMPRESSOR WATER
          See asset #32 - Global settlement with debtor

24       FORD YARD TRACTOR TO CLEAR SNOW                          1,800.00                       0.00                                  0.00                   FA



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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 15-42543-TJT                                                         Trustee:       (420360)      STUART A. GOLD
Case Name:         BENTIVOLIO, KERRY L                                            Filed (f) or Converted (c): 02/23/15 (f)
                                                                                  §341(a) Meeting Date:        03/19/15
Period Ending: 07/13/17                                                           Claims Bar Date:             06/08/15

                                1                                 2                          3                      4               5                   6

                     Asset Description                         Petition/            Estimated Net Value         Property        Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)           Unscheduled       (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                Values            Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                and Other Costs)                                          Remaining Assets

            See asset #32 - Global settlement with debtor

25        VA DISABILITY PAYMENTS                                        0.00                       0.00                                  0.00                   FA
            Asset removed per 04/11/15 amendment

26        VA PENSION BENEFITS EXEMPT UNDER MCL                    1,448.00                         0.00                                  0.00                   FA
          600.5451 (u)
            Added per 03/19/15 amendment

27        SETTLEMENT FROM BENTIVOLIO FOR                                0.00                       0.00                                  0.00                   FA
          CONGRESS PAID 20, (u)
            * Added per 04/11/15 amendment
          ** See asset #32 - Global settlement with debtor

28        2006 CHEVY MALIBU TRADED IN POST FILING                     500.00                       0.00                                  0.00                   FA
          FOR 500 (u)
            Added per 04/11/15 amendment

29        CHICKEN FEED ... CURRENTLY NO CHICKENS (u)                   50.00                       0.00                                  0.00                   FA
            Added per 04/11/15 amendment

30        BEE HIVES.. POSSIBLY SOME LIVE BEES...MOST                  900.00                       0.00                                  0.00                   FA
          LOST (u)
            Added per 04/11/15 amendment

31        MILITARY RETIREMENT PAY AS SGT FIRST                    1,143.00                         0.00                                  0.00                   FA
          CLASS (u)
            Added per 04/11/15 amendment

32        GLOBAL SETTLEMENT WITH DEBTOR                          22,500.00                    22,500.00                             22,500.00                   FA

33        CONGRESSIONAL FEDERAL CU PREFERENCE                    11,000.00                    11,000.00                             11,000.00                   FA
          (u)

 33      Assets      Totals (Excluding unknown values)         $424,217.00                   $33,500.00                            $33,500.00                $0.00



      Major Activities Affecting Case Closing:

                  07.2017 -- RECEIVED FINAL PAYMENTS; READY FOR TFR
                  03.2017 -- CONTINUE TO MONITOR STRUCTURED SETTLEMENT PAYMENTS (PAYMENTS CURRENT)
                  07.2016 -- MOTION TO ALLOW INTERIM DISTRIBUTION FILED
                  06.2016 -- ORDER ENTERED DISALLOWING CLAIM #4
                  03.2016 -- MONITOR STRUCTURED SETTLEMENT PAYMENTS (PAYMENTS CURRENT)
                  09.2015 -- SETTLEMENT MOTION FILED RE: PREFERENCE ACTION



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                                                                         Form 1                                                                              Page: 4

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 15-42543-TJT                                                      Trustee:       (420360)      STUART A. GOLD
Case Name:       BENTIVOLIO, KERRY L                                           Filed (f) or Converted (c): 02/23/15 (f)
                                                                               §341(a) Meeting Date:        03/19/15
Period Ending: 07/13/17                                                        Claims Bar Date:             06/08/15

                                1                                    2                    3                       4                  5                   6

                    Asset Description                           Petition/        Estimated Net Value          Property           Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned           Received by     Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)           the Estate      Gross Value of
Ref. #                                                                             and Other Costs)                                              Remaining Assets

                08.2015 -- MONITOR COLLECTION OF STRUCTERED SETTLEMENT PAYMENTS
                06.2015 -- SETTLEMENT MOTION FILED
                05.2015 -- INVESTIGATING DEBTOR'S FINANCIAL AFFAIRS; PURSUE NON-EXEMPT EQUITY IN PERSONAL PROPERTY

     Initial Projected Date Of Final Report (TFR):   March 1, 2017               Current Projected Date Of Final Report (TFR):     October 1, 2017




               July 13, 2017                                                            /s/ STUART A. GOLD
          __________________________                                                    _________________________________________________________________
                         Date                                                           STUART A. GOLD




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                                                                              Form 2                                                                                       Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:         15-42543-TJT                                                              Trustee:            STUART A. GOLD (420360)
Case Name:           BENTIVOLIO, KERRY L                                                       Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***0060                                                                Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/13/17                                                                        Separate Bond: N/A

   1             2                          3                                  4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $              Account Balance
09/04/15       {32}        KERRY BENTIVOLIO               Acct #1; Payment #0; SETTLEMENT P /O            1149-000             12,500.00                                12,500.00
                                                          07/20/15
09/28/15                   KERRY BENTIVOLIO               Acct #1; Payment #1, 2; SETTLEMENT P /O                                  500.00                               13,000.00
                                                          07/20/15
               {32}                                         Acct #1; Payment #1;              250.00      1149-000    M                                                 13,000.00
                                                            SETTLEMENT P /O
                                                            07/20/15
               {32}                                         Acct #1; Payment #2;              250.00      1149-000    M                                                 13,000.00
                                                            SETTLEMENT P /O
                                                            07/20/15
09/30/15                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       13.20          12,986.80
10/06/15       {32}        KERRY BENTIVOLIO               Acct #1; Payment #3; SETTLEMENT P /O            1149-000                 250.00                               13,236.80
                                                          07/20/15
10/20/15       {33}        CONGRESSIONAL FEDERAL          SETTLEMENT P/O 10/14/15                         1241-000             11,000.00                                24,236.80
                           CREDIT UNION
10/30/15                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       23.70          24,213.10
11/13/15       {32}        KERRY BENTIVOLIO               Acct #1; Payment #4; SETTLEMENT P /O            1149-000                 250.00                               24,463.10
                                                          07/20/15
11/30/15                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       33.80          24,429.30
12/04/15       101         GOLD, LANGE & MAJOROS, P.C.    ATTORNEY FOR TRUSTEE FEES                                                                  12,734.99          11,694.31
                                                          ($12,650.00) AND EXPENSES ($84.99) P/O
                                                          12/04/15
                                                            ATTORNEY FOR                 12,650.00        3110-000    M                                                 11,694.31
                                                            TRUSTEE FEES P/O
                                                            12/04/15
                                                            ATTORNEY FOR                       84.99      3120-000    M                                                 11,694.31
                                                            TRUSTEE EXPENSES
                                                            P/O 12/04/15
12/08/15       {32}        KERRY BENTIVOLIO               Acct #1; Payment #5; SETTLEMENT P /O            1149-000                 250.00                               11,944.31
                                                          07/20/15
12/31/15                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       24.26          11,920.05
01/11/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #6; SETTLEMENT P /O            1149-000                 250.00                               12,170.05
                                                          07/20/15
01/11/16       102         INSURANCE PARTNERS             BLANKET BOND                                    2300-000                                       21.23          12,148.82
                           AGENCY, INC.
01/29/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       16.72          12,132.10
02/15/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #7; SETTLEMENT P /O            1149-000                 250.00                               12,382.10
                                                          07/20/15
03/01/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       16.95          12,365.15
                                                                                                Subtotals :                  $25,250.00             $12,884.85
{} Asset reference(s)     15-42543-tjt           Doc 87
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                                                  Cash Receipts And Disbursements Record
Case Number:         15-42543-TJT                                                              Trustee:            STUART A. GOLD (420360)
Case Name:           BENTIVOLIO, KERRY L                                                       Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***0060                                                                Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/13/17                                                                        Separate Bond: N/A

   1             2                          3                                  4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $               Account Balance
03/10/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #8; SETTLEMENT P /O            1149-000                 250.00                                12,615.15
                                                          07/20/15
03/31/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        19.76          12,595.39
04/29/16                   KERRY BENTIVOLIO               Acct #1; Payment #10, 9; SETTLEMENT P /O                                 500.00                                13,095.39
                                                          07/20/15
               {32}                                         Acct #1; Payment #10;             250.00      1149-000    M                                                  13,095.39
                                                            SETTLEMENT P /O
                                                            07/20/15
               {32}                                         Acct #1; Payment #9;              250.00      1149-000    M                                                  13,095.39
                                                            SETTLEMENT P /O
                                                            07/20/15
04/29/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        17.46          13,077.93
05/31/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        18.13          13,059.80
06/13/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #11; SETTLEMENT P /O           1149-000                 250.00                                13,309.80
                                                          07/20/15
06/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        20.81          13,288.99
07/07/16       103         SHIFMAN & CARLSON              INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                       341.42          12,947.57
                                                          CLAIM 1 P/O 07/06/16; DIVIDEND PAID OF
                                                          5.53% ON ALLOWED CLAIM OF $6,165.08;
                                                          REFERENCE # 9203
07/07/16       104         DICKINSON WRIGHT PLLC          INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                    2,404.02           10,543.55
                                                          CLAIM 2 P/O 07/06/16; DIVIDEND PAID OF
                                                          5.53% ON ALLOWED CLAIM OF $43,410.86
07/07/16       105         SOMMERS SCHWARTZ, P.C.         INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                    6,645.40              3,898.15
                                                          CLAIM 5 P/O 07/06/16; DIVIDEND PAID OF
                                                          5.53% ON ALLOWED CLAIM OF
                                                          $120,000.00; REFERENCE # DINDOFFER
07/07/16       106         (WRIGHT PATMAN)                INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                       609.16             3,288.99
                           CONGRESSIONAL FEDERAL          CLAIM 6 P/O 07/06/16; DIVIDEND PAID OF
                           CREDIT UNION                   5.53% ON ALLOWED CLAIM OF $11,000.00
07/11/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #12; SETTLEMENT P /O           1149-000                 250.00                                   3,538.99
                                                          07/20/15
07/29/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        13.83             3,525.16
08/08/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #13; SETTLEMENT P /O           1149-000                 250.00                                   3,775.16
                                                          07/20/15
08/31/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        10.00             3,765.16
09/09/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #14; SETTLEMENT P /O           1149-000                 250.00                                   4,015.16
                                                          07/20/15
09/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                        10.00             4,005.16

                                                                                                Subtotals :                    $1,750.00            $10,109.99
{} Asset reference(s)     15-42543-tjt           Doc 87
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                                                                                                                                                                            Exhibit B


                                                                              Form 2                                                                                         Page: 3

                                                  Cash Receipts And Disbursements Record
Case Number:         15-42543-TJT                                                               Trustee:            STUART A. GOLD (420360)
Case Name:           BENTIVOLIO, KERRY L                                                        Bank Name:          Rabobank, N.A.
                                                                                                Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***0060                                                                 Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/13/17                                                                         Separate Bond: N/A

   1             2                          3                                  4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From            Description of Transaction                T-Code              $                   $              Account Balance
10/11/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #15; SETTLEMENT P /O            1149-000                 250.00                                  4,255.16
                                                          07/20/15
10/31/16                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             4,245.16
11/14/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #16; SETTLEMENT P /O            1149-000                 250.00                                  4,495.16
                                                          07/20/15
11/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             4,485.16
12/08/16       {32}        KERRY BENTIVOLIO               Acct #1; Payment #17; SETTLEMENT P /O            1149-000                 250.00                                  4,735.16
                                                          07/20/15
12/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             4,725.16
01/16/17       {32}        KERRY BENTIVOLIO               Acct #1; Payment #18; SETTLEMENT P /O            1149-000                 250.00                                  4,975.16
                                                          07/20/15
01/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             4,965.16
02/10/17       {32}        KERRY BENTIVOLIO               Acct #1; Payment #19; SETTLEMENT P /O            1149-000                 250.00                                  5,215.16
                                                          07/20/15
02/28/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             5,205.16
03/07/17       {32}        KERRY BENTIVOLIO               Acct #1; Payment #20; SETTLEMENT P /O            1149-000                 250.00                                  5,455.16
                                                          07/20/15
03/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             5,445.16
04/13/17       {32}        KERRY BENTIVOLIO               Acct #1; Payment #21; SETTLEMENT P /O            1149-000                 250.00                                  5,695.16
                                                          07/20/15
04/28/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             5,685.16
05/17/17       {32}        KERRY BENTIVOLIO               Acct #1; Payment #22; SETTLEMENT P /O            1149-000                 250.00                                  5,935.16
                                                          07/20/15
05/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             5,925.16
06/14/17       {32}        KERRY BENTIVOLIO               Acct #1; Payment #23; SETTLEMENT P /O            1149-000                 250.00                                  6,175.16
                                                          07/20/15
06/30/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       10.00             6,165.16
07/11/17                   KERRY BENTIVOLIO               Acct #1; Payment #24, 25; SETTLEMENT P /O                              4,250.00                                10,415.16
                                                          07/20/15
               {32}                                         Acct #1; Payment #24;             250.00       1149-000    M                                                 10,415.16
                                                            SETTLEMENT P /O
                                                            07/20/15
               {32}                                         Acct #1; Payment #25;            4,000.00      1149-000    M                                                 10,415.16
                                                            SETTLEMENT P /O
                                                            07/20/15




                                                                                                 Subtotals :                    $6,500.00                $90.00
{} Asset reference(s)     15-42543-tjt           Doc 87
                                                M-Memo        Filed 07/18/17             Entered 07/18/17 09:31:32
                                                                                                                 Printed:Page     9 03:17
                                                                                                                          07/13/2017 of 14PM                                 V.13.30
                                                                                                                                                                                Exhibit B


                                                                                  Form 2                                                                                        Page: 4

                                                   Cash Receipts And Disbursements Record
Case Number:         15-42543-TJT                                                                 Trustee:              STUART A. GOLD (420360)
Case Name:           BENTIVOLIO, KERRY L                                                          Bank Name:            Rabobank, N.A.
                                                                                                  Account:              ******9166 - Checking Account
Taxpayer ID #:       **-***0060                                                                   Blanket Bond:         $2,000,000.00 (per case limit)
Period Ending: 07/13/17                                                                           Separate Bond: N/A

   1             2                           3                                     4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From                Description of Transaction                T-Code              $                  $               Account Balance

                                                                                 ACCOUNT TOTALS                                     33,500.00             23,084.84        $10,415.16
                                                                                        Less: Bank Transfers                             0.00                  0.00
                                                                                 Subtotal                                           33,500.00             23,084.84
                                                                                        Less: Payments to Debtors                                              0.00
                                                                                 NET Receipts / Disbursements                     $33,500.00             $23,084.84

                                  Net Receipts :         33,500.00
                                                                                                                                      Net             Net                    Account
                                    Net Estate :        $33,500.00               TOTAL - ALL ACCOUNTS                               Receipts     Disbursements               Balances

                                                                                 Checking # ******9166                              33,500.00             23,084.84          10,415.16

                                                                                                                                  $33,500.00             $23,084.84        $10,415.16




{} Asset reference(s)    15-42543-tjt              Doc 87        Filed 07/18/17             Entered 07/18/17 09:31:32Printed:Page     1003:17
                                                                                                                              07/13/2017  of PM
                                                                                                                                              14                                V.13.30
                                                     EXHIBIT C
                                            ANALYSIS OF CLAIMS REGISTER                      Claims Bar Date: June 8, 2015

Case Number: 15-42543-TJT                                    Page: 1                                     Date: July 13, 2017
Debtor Name: BENTIVOLIO, KERRY L                                                                         Time: 03:19:37 PM
Claim #   Creditor Name & Address             Claim Type    Claim Ref. No. / Notes   Amount Allowed       Paid to Date   Claim Balance

          GOLD, LANGE & MAJOROS, P.C.         Admin Ch. 7                                   $12,650.00     $12,650.00             0.00
200       24901 NORTHWESTERN HWY.
          SUITE 444
          SOUTHFIELD, MI 48075
          GOLD, LANGE & MAJOROS, P.C.         Admin Ch. 7                                       $84.99         $84.99             0.00
200       24901 NORTHWESTERN HWY.
          SUITE 444
          SOUTHFIELD, MI 48075
          STUART A. GOLD                      Admin Ch. 7                                    $4,100.00          $0.00          4,100.00
200       24901 NORTHWESTERN HWY
          SUITE 444
          SOUTHFIELD, MI 48075
          STUART A. GOLD                      Admin Ch. 7                                       $50.00          $0.00            50.00
200       24901 NORTHWESTERN HWY
          SUITE 444
          SOUTHFIELD, MI 48075
          U.S. BANKRUPTCY COURT               Admin Ch. 7                                      $350.00          $0.00           350.00
200       211 W. FORT STREET
          17TH FLOOR
          DETROIT, MI 48226
1         SHIFMAN & CARLSON                   Unsecured     9203                             $6,165.08        $341.42          5,823.66
 610      34705 W. 12 MILE ROAD                             ALLOWED
          SUITE 160
          FARMINGTON HILLS, MI 48331-3259
2         DICKINSON WRIGHT PLLC               Unsecured                                     $43,410.86      $2,404.02        41,006.84
 610      C/O JAMES A. PLEMMONS                             ALLOWED
          500 WOODWARD AVENUE,SUITE 4000
          DETROIT, MI 48226
3         FORD MOTOR CREDIT COMPANY LLC       Unsecured                                          $0.00          $0.00             0.00
 610      DEPT. 55953                                       CLAIM WITHDRAWN 06/06/16
          P.O. BOX 55000
          DETROIT, MI 48255-0953
4         ROBERT J. DINDOFFER                 Unsecured                                          $0.00          $0.00             0.00
 610      1157 THREE MILE DR.                               CLAIM DISALLOWED P/O 06/08/16
          GROSSE POINTE PARK, MI 48230
5         SOMMERS SCHWARTZ, P.C.              Unsecured     DINDOFFER                    $120,000.00        $6,645.40       113,354.60
 610      ONE TOWNE SQUARE, SUITE 1700                      ALLOWED
          SOUTHFIELD, MI 48076
6         (WRIGHT PATMAN) CONGRESSIONAL       Unsecured                                     $11,000.00        $609.16        10,390.84
 610      FEDERAL CREDIT UNION                              ALLOWED IN THE REDUCED AMOUNT OF $11,000.00 PER 10/14/15
          C/O HUSTON & ANGUS, PLC                           COMPROMISE ORDER
          5529 LEE HIGHWAY
          ARLINGTON, VA 22207

<< Totals >>                                                                                197,810.93      22,734.99       175,075.94




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                                 TRUSTEE'S PROPOSED DISTRIBUTION                                         Exhibit D

           Case No.: 15-42543-TJT
           Case Name: BENTIVOLIO, KERRY L
           Trustee Name: STUART A. GOLD
                                               Balance on hand:                            $           10,415.16
             Claims of secured creditors will be paid as follows:

Claim        Claimant                              Claim Allowed Amount Interim Payments                 Proposed
No.                                              Asserted       of Claim          to Date                Payment
                                                     None
                                               Total to be paid to secured creditors:      $                0.00
                                               Remaining balance:                          $           10,415.16

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                            Total Requested Interim Payments            Proposed
                                                                                      to Date           Payment
Trustee, Fees - STUART A. GOLD                                       4,100.00                  0.00       4,100.00
Trustee, Expenses - STUART A. GOLD                                      50.00                  0.00          50.00
Attorney for Trustee, Fees - GOLD, LANGE &                          12,650.00           12,650.00             0.00
MAJOROS, P.C.
Attorney for Trustee, Expenses - GOLD, LANGE &                          84.99              84.99              0.00
MAJOROS, P.C.
Charges, U.S. Bankruptcy Court                                        350.00                   0.00         350.00
                           Total to be paid for chapter 7 administration expenses:         $            4,500.00
                           Remaining balance:                                              $            5,915.16

             Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                            Total Requested Interim Payments            Proposed
                                                                                      to Date           Payment
                                                     None
                           Total to be paid for prior chapter administrative expenses:     $                0.00
                           Remaining balance:                                              $            5,915.16




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $            5,915.16
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 180,575.94 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 8.8 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            SHIFMAN & CARLSON                                       6,165.08            341.42            201.94
  2            DICKINSON WRIGHT PLLC                                  43,410.86          2,404.02          1,422.02
  5            SOMMERS SCHWARTZ, P.C.                               120,000.00           6,645.40          3,930.87
  6            (WRIGHT PATMAN) CONGRESSIONAL                          11,000.00            609.16            360.33
               FEDERAL CREDIT UNION
                             Total to be paid for timely general unsecured claims:          $            5,915.16
                             Remaining balance:                                             $                0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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